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DATE

2/14/99

2/15/99

5/18/99

5/19/99

5/20/99

5/21/99

CROSS & KEARNEY
WORK TIME SHEET

JAMES T. STEPHENSON

REFERENCE
Review Consent Decree, Claim Form

Initial meeting w/ Stephenson discuss claim; retainer
agreement

Meet w/ Stephenson to discuss his general farm
operation/experience for the years covered by the
class action

Began review of Stephenson’s personal farm
records:

1987 OL App/Appeal (103 p)

1989 SD App/Appeal (85 p)

1989 FO/OL App/Appeal (61 p)

1985 FO/OL App/Appeal (124 p)

1994 FO App/Appeal (211 p)

1994 OL App/Appeal (110 p)

1989 Disaster Program Records (60 p)

Continue review of farm records:

1990 Disaster Program Records (23 p)

1991 Disaster Program Records (172 p)
1992 Disaster Program Records (23 p)

1993 Disaster Program Records (76 p)
1994 Disaster Program Records (104 p)
1995 Land Lease documents (37 p)

89-96 ASCS Crop Acreage Reports (394 p)

Review: Additional ASCS Crop Acreage Reports
86-89 (300 p)

USDA Records of Deeds, Mortgages & farming
statements of various local black & white farmers
filed of record with the Chicot County Circuit Clerk
& Recorder (283 p)

James Stephenson lien & mortgage documents (200

p)

Page | of 25

TIME

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2.30

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6.10

8.20

EXPENSE

ATTY
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5/22/99

5/23/99

6/18/99

6/25/99

6/26/99

6/27/99

6/29/99

Continue review of farm records:

1993 Correspondences w/ Congressman Dickey (4p)
1995 FCI Folder (105 p)

1996 FCI Folder (107 p)

Farm History FSN 996 (124 p)

Farm History FSN 1289 (203 p)

Farm History FSN 1027 (156 p)

Farm History FSN 1594 (60 p)

Farm History FSN 995 (100 p)

Farm History FSN 982 (71 p)

Continue review of farm records:
Farm Operation Expenses/Production records (770p)

Total Attorney hours 6/1/98 through 5/31/99 @
335.00 per hour

Total Paralegal hours 6/1/98 through 5/31/99 @
83.00 per hour

Conf w/ Stephenson to discuss specific
data/documents needed for economic expert to
evaluate claim; he will gather and bring/send to my
office

Conf w/ Stephenson to discuss/identify/facts similar
white farmers

Continue review of farm records:
Farm History, Farm # 996 (134p)
Farm History, Farm # 1289 (203p)
Farm History, Farm # 1027 (156p)
Farm History, Farm # 1594 (60p)
Farm History, Farm # 995 (100p)
Farm History, Farm # 982 (71p)

Conf w/ Stephenson/R. Stuby for info to do
economic analysis

Conf w/ Stephenson to verify info and documents to
fill out Plaintiff's Track B Arbitration Packet 16 p.

Continue review of Stephenson’s personal farm
records:

Chicot County Acreage Report File 1989-1996
(394p)

Page 2 of 25

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Page 2 of 25

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7/14/99

10/5/99

10/5/99

11/4/99

11/4/99

11/13/99

12/22/99

12/28/99

12/28/99

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2/1/00

Complete review of Stephenson’s farm records,
including: various other documents, i.e. deeds,
leases, corr & reports of meetings with FmHA &
corr to local, state & national officials at USDA &
members of Congress (770p)

Rec/Rev R. Stuby’s economic evaluation (2.2
million loss)

Conf w/ Stephenson to complete/sign Track B claim
package

Corr to Black Farmer’s Settlement w/ attached
completed claim form and supporting documents
18p

Conf w/ R. Stuby; appointment to review his
economic analysis of Stephenson on Nov 13 obtain
info

Rec/Rev Claim Facilitators acknowledgment of
receipt of Claim from

Meet w/ R. Stuby RE: Stephenson economic
analysis

Office conf w/ Stephenson to further discuss the
requirements for his case under Track B process

Rec/Rey Initial Hearing Notice w/ Rules and
Procedures for Arbitration 6p.

Calendar Hearing Notice

Conf w/ Stephenson to discuss and confirm hearing
date; develope names/address/contact info for
witnesses

Rec/Rev from Stephenson a package containing his
background; memo RE; witnesses/contact info;

Phone conf w/ Stephenson (x3)

Begin compiling witness/exhibit lists; questionnaires
to formulate witness statements and direct
testimonies

Begin selecting exhibits for exhibit list

Draft Plaintiff's Request for Production w/ attach
EX | (7p)

Mailed/sent Request for Production to Arbitrator, cc:

M. Hart DOJ

Page 3 of 25

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Corr to M. Lewis requesting enlargement of time to
meet discovery obligation; cc: US Atty M. Hart | p.

Rec/Rev fax from R. Stuby requesting additional
documents/info RE: Stephenson farm operations
delivered to me by Stephenson | p.

Assemble Info requested Feb. 14, 2000 by R. Stuby

Draft corr to R. Stuby enclosing additional
info/documents | p,

Mailed requested info to R. Stuby

Rec/Rev via fax R. Stuby’s Analytical Assumptions
RE: Economic loss 14 p.

Rec/Rev via fax documents supporting report from
Stuby

Office conf w/ Stephenson to discuss R. Stuby’s
findings

Corr to M. Sitcov requesting stipulation for
extending time to submit witness and exhibit list; cc:
M. Lewis

Fax to M. Lewis & M. Sitcov; parties stipulate to
extending due date for witness/exhibit list 4 p.

Continue work on witness/exhibit lists
Complete compiling witness/exhibit list

Telephone Conference w/ US Atty RE: Settlement
potential for this claim; and stay arbitration schedule
pending negotiations

Rec/Rev corr from M. Hart to Arbitrator RE:
Proposed stipulation for stay of arbitration while
parties attempt to settle

Fax to DOJ and M. Lewis confirming stipulation w/
Hart 2 p.

Discuss settlement w/ Hart; phone conf w/
Stephenson RE: Settlement offer

Prepare final draft and serving Arbitrator& DOJ
Lists of Exhibits 24 p. via Fedex

Draft letter transmitting both witness & exhibit lists

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Rec/Rev New Hearing Notice/Deadlines
Calendar new hearing date

Rec/Rev copy of corr to L. Singer from M. Hart
confirming settlement negotiations

Telephone Conference w/ M. Hart RE: settlement
negotiations

Rec/Rev copy of letter from M. Sitcov to L. Singer
RE: settlement negotiations; stay

Phone conf w/ M. Hart RE: settlement

Rec/Rev corr from M, Lewis responding to the
settlement negotiation stipulation

Corr to USDJ M. Sitecov RE: whereabouts of DOJ’s
Answers to Request for Production

Fax corr to USDJ

Draft corr to witness RE: placement on witness list
to Stephane Wright

Fax corr to Stephane Wright

Corr to Stephenson RE: Contact info for Claimant’s
witness Chuck Culver

Mailed corr to Stephenson

Corr to C. Edwards RE: placement on witness list
Mailed corr to C. Edwards

Corr to G. Lewis RE: placement on witness list
Mailed corr to G. Lewis

Corr to H. English that depo will be necessary and
will be scheduled later

Mailed corr to H. English

Corr to C. Nicholson RE: placement on witness list
Mailed corr to D. Nicholson

Corr to C. King RE: placement on witness list
Mailed to corr to C. King

Corr to J. Stephenson to provide copies of tax
returns for years covered by claim

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5/30/00

6/22/00

8/17/00
8/17/00

Rec/Rev fax corr from D. Frantz RE: issue of
“attempt” to file claims 6 p.

Conf w/ Class Co-Counsel RE:
significance/consequence of the “attempt”

Conf w/ Stephenson to draft detailed background
and info statement

Preliminary draft of C. Culver witness statement for
use in detailed background/informational statement

Preliminary draft of C. Edwards witness statement
for use in detailed background/informational
statement

Preliminary draft of G. Lewis witness statement for
use in detailed background/informational statement

Preliminary draft of H. English witness statement for
use in detailed background/informational statement

Preliminary draft of C. Nicholson witness statement
for use in detailed background/informational
statement

Preliminary draft of C. King witness statement for
use in detailed background/informational statement

Conf w/debtors RE: settle farm debt lien on
Stephenson Track B Claim

Rec/Rev Revised Hearing Notice # 2 (1 p)
Calendar new hearing date/deadline

Rec/Rev corr from J. Strode w/ attach RE: debt lien
on any proceeds of Track B claim by Stephenson 4

p.

Total Attorney hours 6/1/99 through 5/31/00 @
$340 per hour

Total Paralegal hours 6/1/99 through 5/31/00 @
$90 per hour

Corr to Stephenson w/ additional Informational
Questionnaire regarding his Detailed
Background/Info Statement, to complete, review
correct | p.

Mail corr to Stephenson

Draft Motion for Sanctions RE: Discovery 6 p.

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p75

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8/17/00 Corr to ADR Assoc. w/ Claimant’s Motion for 0.20 JLK
Sanctions; cc: DOJ (6 p) via Fedex

8/17/00 Mail corr to ADR Assoc./DOJ 0.40 JLK

9/12/00 Rec/Rev Response in Opposition to Sanctions w/ 1.60 JLK
Attachments (21 p.)

9/12/00 Rec/Rev Defendant’s Memorandum in Opposition to 1.70 JUK
Claimant’s Motion for Sanctions 8 p.

9/18/00 Rec/Rev Arbitrator’s Ruling on Claimant’s Motion —-0.75 JLK
for Sanctions 4 p.

9/25/00 Phone conf w/ Arbitrator L. Singer RE: Hearing 0.25 JLK
schedule

9/25/00 Rec/Rev corr via fax from D. Bensing RE: 0.25 JLK

Discovery issue 3 p.

9/25/00 Telephone Conference w/ D. Bensing RE: Further 0.40 JLK
discussion of discovery

9/27/00 Rec/Rev corr via fax from D. Bensing confirming 0.20 JLK
discussion on discovery 3 p.

10/12/00 Corr to M. Sitcov Re: Scheduling Deposition of all 0.20 JLK
Government witnesses 1 p.

10/17/00 Phone conf w/ USDA National Appeals Division 0.40 JLK
RE: relationship of new complaints by Stephenson v.
class action claim

10/17/00 Claimant’s Renewed Motion for Sanctions for 1.75 JLK
Failure to Provide Discovery with Memorandum

10/19/00 Rec/Rev corr from A. Ray RE: introduction of new 0.25 JLK
lawyers assigned |p,

10/19/00 Corr to A, Ray acknowledging assignment to case; 0.30 JLiK
reminder of discovery that is due from USDA

10/24/00 Rec/Rev fax from A. Ray RE: Arbitrator’s Ruling 0.30 JLK
on Sanctions 3 p.

10/25/00 Conf w/ Stephenson to receive and review 3.10 JLK
additional documents; discuss revising witness list

10/25/00 Draft Supplemental List of Exhibits (EX 422-424) 0.70 $18.60 JLK
; send to Ray, M. Lewis 6 p.

10/25/00 Draft Revised Supplemental List of Witnesses; 3.10 $18.60 JLK
send to Ray, Ms. Lewis 14 p.

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10/25/00 Corr to C. Edwards listed witness; enclose 2.75 JLK
Stephenson's proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone call

10/25/00 Corr to C. Culver listed witness; enclose 2.25 JLK
Stephenson’s proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone call

10/25/00 Corr to C, Nicholson listed witness; enclose 2.25 JLK
Stephenson’s proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone call

10/25/00 Corr to H. English listed witness; enclose 1.00 JLK
Stephenson’s proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone call

10/25/00 Corr to I. Leonard listed witness; enclose 2.25 JLK
Stephenson’s proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone call

1025/00 Corr to A. Jordan listed witness; enclose 2.10 JLK
Stephenson’s proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone call

10/25/00 Corr to G, Lewis listed witness; enclose 1,25 JLE
Stephenson’s proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone cal!

10/25/00 Corr to C. King listed witness; enclose LaqS JLK
Stephenson’s proposed testimony; enclose direct
testimony questionnaire for witness to complete;
will follow up with phone call

10/26/00 Rec/Rev Government Witness List via fax and US —-0.50 JLK
Mail 7 p.

10/30/00 Corr to A. Ray, USDJ Re: Schedule Depositions 1 0.20 $18.60 JLK
p. via Fedex

10/31/00 Phone conf, w/ A. Ray RE: scheduling Depositions 0.50 JLK

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Ree from A. Ray, & began to review requested 9.00 JILK
records from Stephenson’s USDA files and SSWF.
(3 large boxes)

Began Review of USDA records;

LC001 (186 p) Stephenson’s 1986 Farm Program
participation records

LC002 (25 p) 1990 Farm program application files
LC003 (254 p) 1995 Farm program application files
LC004 (62 p)1989 Farm program application files
LC005 (87 p) 1986-1990 Farm program
participation records

LC006 (155 p) 1993-1995 Farm program
participation records

LC007 (124 p) 1993 Farm program application files

Continue review of USDA records: 10.00 JLK
LC008 (310 p) 1997 Farm program application files

LC009 (258, p) 1998 Farm program application

files

LCO10 (141 p) 1998 Ownership loan applications

LCO11 (307 p) 1997 Farm program records

Continue review of USDA records: 4.75 JLK
FSA File | of 8 (498p) Record of Appeal RE:

Stephenson’s 1997 Chicot County loan denial

Claim # 018759

Continue review of USDA records: 4.00 JLK
Chicot county File PCOO! (110 p) 1991-1999

Acreage reports

Chicot county File PC002 (146 p) OCR appeal

claims

No File Name (189 p) 1987 Farm program

application/review

Continue review of USDA records: 8.00 JLK
FSA File | of 8 continued (561p) Record of Appeal

RE: Stephenson’s 1997 Chicot County loan denial

Claim # 0018759

No File Name (11 p) USDA copy of Stephenson’s

Track B claim

No File Name (172 p) 1987 Farm program

application/review

Continue review of USDA records: 8.00 JLK
FSA 2 of 8 (744 p) OCR Claim # 0018759
Continue review of USDA records: 4.50 JLK

FSA 3 of 8 (542 p) OCR Claim # 0018759

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Continue review of USDA records:
FSA 4 of 8 (323 p) OCR Claim # 0018759

Phone conf w. L. Price RE: investigate addition
SSWF file at County Office

Corr to L. Price RE: SSWF files needed

Continue review of USDA records:
FSA 5 of 8 336 p;
FSA 6 of 8 524 p;

Phon conf w/ Cynthia Edward, witness

Corr to USDA National Appeals Div- Hearing RE:
Status of claim as relates to foreclosure proceedings

Continue review of USDA records:
FSA 7 of 8 25 p;
FSA 8 of 8 431 p

Continue review of USDA records:

PC007 FSA Chicot County farm records for W&R
Farms, SSWF Farm #412 (238p)

PC002 FSA Multi County farm reports for James
Winters, SSWF Farm # Various (4p)

PC004 FSA 1992-2000 Chicot County farm records
for James Winters, SSWF Farm #2030 (210p)
PC003 FSA 1999 Crop records & Disaster Claims,
James Winters, SSWF, Multi County Farm
operation covering various farm numbers (161p)

Continue review of USDA records:

PCO01 FSA 1996 Ashley County Records for W&R
Farms, SSWF Various farm numbers (225p)

PC006 FSA 1996-2000 Chicot County acreage
reports, production reports, W&R Farms, SSWF,
various farm numbers

Continue review of USDA records:

LC005 FSA 1998-2000 Flexibility Contracts &
production reports, W&R Farms, SSWE, Multi
County, various farm numbers (215p)

FSA 1988-1996 Chicot County various documents,
production reports, acreage, crop insurance, lease
contract S&R Farms multi County, various farm
numbers (410p)

Rec/Rev via fax corr from A, Ray acopy of Jetterto 0,30

Arbitrator RE; Continuance

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Rec/Rev Revised Hearing Notice # 4 from
Arbitrator

Calendar new hearing

Rec/Rev corr from Stephenson RE: Witness
availability

Rec/Rev corr from A. Ray confirming telephone
conversation concerning deposition dates

Rec/Rev Completed questionnaires sent to
witnesses Nicholson & Culver; begin preparing
Direct Testimonies

Rec/Rev Completed questionnaires sent to
witnesses King; Lewis & Jordan; begin preparing
Direct Testimonies

Rec/Rev Completed questionnaires sent to
witnesses English & Leonard; begin preparing
Direct Testimonies

Continue preparation of Direct Testimonies for
English & Jordan

Notice of Deposition change to C. Nicholson
Notice of Deposition change to C. Culver
Notice of Deposition change to C. King
Notice of Deposition change to G. Lewis
Notice of Deposition change to A. Jordan
Notice of Deposition change to A. Ray
Notice of Deposition change to H. English
Notice of Deposition change to I. Leonard

Corr to A, Ray attaching draft version of direct
testimonies of Stephenson’s witnesses 131 p.

Prepare Plaintiff's Notices to Appear for
Deposition 2/12/01 to H. English

Prepare Plaintiff's Notices to Appear for
Deposition 2/12/01 to H. English

Prepare Plaintiff's Notices to Appear for
Deposition 2/12/01 to J. Stephenson

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1/22/01 Prepare Plaintiff's Notices to Appear for 0.60 JLK
Deposition 2/12/01 to G. Stephenson

1/22/01 Prepare Plaintiff's Notices to Appear for 0.60 JLK
Deposition 2/12/01 to R. Stuby

1/22/01 Prepare Plaintiff's Notices to Appear for 0.60 JLK
Deposition 2/12/01 to C. Nicholson

1/22/01 Prepare Plaintiff's Notices to Appear for 0.60 JLK
Deposition 2/12/01 to G, Lewis

1/22/01 Prepare Plaintiff's Notices to Appear for 0.60 JLK
Deposition 2/12/01 to C. King

1/31/01 Conf w/ Taylor to investigate/copy identified 3.00 JLK
SSWF files needed in Ashley County

1/31/01 Rec/Rev corr via fax; Calvin King ALFDC unable —0..20 JLK
to attend deposition on 2/12/01 2 p.

2/1/01 Deposition of USDA witnesses: Beck, Beatey, §.00 JLK
Huskey & Stringfellow

2/2/01 Deposition of Stephenson witnesses, Stephenson, 8.20 JLK

Lewis, English, Huskey; post deposition discussion
w/ A. Ray of modifying witness list

2/2/01 Corr to A. Ray Re: Confirming modified witness 0.40 JLK
list; and outline witness depositions set for 2/12/01
and 2/28/01 1 p,

2/2/01 Notice of Depo to Doug Snow witness for Claimant 0.60 JLK

2/2/01 Notice of Depo to Gwen Stephenson witness for 0.60 JLK
Claimant

2/2/01 Notice of Depo to Chuck Culver witness for 0.60 JLK
Claimant

2/2/01 Rec Bushman Court Reporting Invoice #66374 for 0.20 $1,040.75 JLK

Depositions of Wayne Beaty, Keith Huskey, John
Stringfellow, & Ronald Beck

2/2/01 Rec Bushman Court Reporting Invioce #66372 for 0.20 $104.50 JLK
Depositions of Henry English, James Stephenson &
Georgia Lewis

2/8/01 Notice via fax of Depo to Calvin King witness for 0.60 JLK
Claimant

2/12/01 Depositions of Gwen Stephenson & Calvin King 8.00 JLK

2/12/01 Travel to Cleveland, OH for Nicholson Depo JLK

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Nicholson Deposition
Return travel from Cleveland

Rec/Rev Bushman Court Reporting Invoice #66682
for Deposition of Claimant’s witnesses G.
Stephenson, D. Snow, C. Culver and C. King

Rec/Rev corr requesting Status of Stephenson claim
w./ attach ; acknowledge receipt to J. Strode

Corr to A. Ray Confirming Discovery Deadline
Corr to A. Ray RE: Economist’s expert report
Corr via fax to A. Ray RE: Deposition of R. Stuby

Corr to A. Ray RE: Demand Gov’t expert report
before deposition of R. Stuby

Phone conv w/ A. Ray RE: Report of expert

Rec/Rev USDA Expert’s Report & Assessment of
Potential Loss 17 p.

Phone conf w/ A. Ray RE: Gov’t Assessment

Corr to A. Ray confirming Deposition of Experts
for 3/27/01

Fax to R. Stuby copy of confirmation of Deposition

Phone conf; then fax to A. Ray RE: Confirming
agreement to rescheduling of Deposition, direct
testimony; designation of witnesses to cross-

examine, memo address factual and legal issues

Corr to R. Stuby w/ copy of Government expert
report; sent via FedEx 20 p.

Phone conf w/ R. Stuby RE: Additional info need to
review/revise Claimant’s economic analysis

Rec/Rev Revised Hearing Notice # 5
Calendar new hearing

Travel to Washington, DC for 3/29/01 Depositions
of Stuby & Trostle, Client & Gov't Experts
respectively (leave 2:00 o’clock Spend night in DC
for Depositions the next day; arrived in DC 8:00
o’clock (hotel)

Travel Expenses (rental car, roundtrip airline ticket,
meals) excluding hotel

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$580.32
0.20 $108.55

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3/29/0] Deposition of Ron Trostle & R. Stuby (8:00 - 2:00); 13.00 / JLIK
Remainder of day travel home (2:00 - 10:30) 24.00

3/29/01 Rec/Rev transcripts of Trostle & Stuby Depositions 1.50 JLK
15 p./ 79 p

4/1/01 Conf w/ Lottie to engage investigation to search 1.00 JLK

records/find farm records on SSWF

4/4/01 Rec/Rev USDA’s Motion to Dismiss w/ direct 3.20 JLK
testimonies and exhibits 60 p.

4/4/01 Begin reviewing additional Farm Receipts of SSWF 5.00 JLK
provided by investigators

4/5/0] Corr to ADR Assoc via fax RE: Delay in submitting 0.40 JLK
Claimant’s direct testimonies

4/5/01] Finalize/ship package w/ witnesses’ Direct 7.00 JLK
Testimonies via FedEx 78 p.

4/5/01 Rec/Rev Fax from A. Ray w/ additional exhibits to 0.70 JLK
Motion to Dismiss 7 p.

4/6/01 Rec/Rev Emails (x2) from A. Ray inquiry RE: 0.50 JLK
Stephenson witness direct testimonies

4/6/01 Revise witness direct testimonies for J, Stephenson, 7.10 JLK
G. Stephenson, R. Stuby, A. English, G. Lewis, C.
King and C, Nicholson

4/8/01 Rev/Finalize preparation of and Email (x2) 5.00 JL
Claimant’s Supplemental Exhibit List

4/8/01 Ship via FedEx Supplemental Exhibit List 0.50 JLK

4/8/01 Finalize list of Government witnesses to be cross- 1.30 JLK
examined

4/8/01 Email (x2) list of Government witnesses to be 0.50 JLK
cross-examined | p.

4/8/01 Ship via FedEx list of Government witnesses to be —0.50 JLK
cross-examined

4/9/01 Rec/Rev fax from A. Ray forwarding Government’s 2.00 JLK
Motion to Dismiss or For Judgment as a Matter of
Law 25 p.

4/9/01 Rec/Rev fax from A. Ray w/ Memorandum in 1.50 JLK

Support of Defendant’s Motion to Dismiss 24 p.

4/9/01 Phone conf w/ James and Gwen Stephenson RE: 0.80 JLK
issues in Motion to Dismiss

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4/9/01 Rev all documents Exhibits and direct testimony in 3.30 JLK
support Response to the Motion to Dismiss 146 p

4/9/01 Complete/revise Claimant’s 2“ Supplemental 1.70 JLK
Exhibit List 9 p.

4/9/0) Rev/Finalize Claimant’s Memorandum addressing 2.40 JLK
legal and factual issues in dispute

4/9/01 Package to ship via FedEx Revised 2" 1.00 $40.30 JLK
Supplemental Exhibit List & Memorandum
addressing legal and factual issues in dispute &

Email 40 p.

4/10/01 Corr to J. Stephenson to relay the filing of Motion —0.40 JLK
to Dismiss | p.

4/1 1/01 Phone conf w/ J. Stephenson RE: grounds alleged 0.60 JLK
in Motion to Dismiss

4/11/01 Phone conf w/ G. Stephenson RE: basis to rebut 0.40 JLK
Motion to Dismiss

4/12/01 Rec/Rev via fax Government’s Motion to Strike 0.70 JLK
Supplemental Filings 5 p.

4/12/01 Review file, research case law and begin drafting 4.00 JLK
Response to Motion to Dismiss

4/13/01 Finalize Claimants. Combined 5.70 JLK
Response/Memorandum in Opposition to Motion to
Dismiss

4/13/0] Fax to L. Singer copy of Claimant’s combine 0,20 JLI
Response/Memorandum to Motion to Dismiss

4/13/01] Fax to A. Ray copy of Claimant’s combine 0.20 JLK
Response/Memorandum to Motion to Dismiss

4/13/01 Prepare Trial Notebook in preparation for 3.20 JLK
scheduled hearing

4/16/01 Telephone Conference w/ Arbitrator L. Singer RE: — 1.00 JLK

Motion and Response to Dismiss

4/16/01 Rec/Rev Arbitrator’s Revised Scheduling Order 2.40 JLK
reset hearing for 7/17/01; Government’s Response
to Claimant’s Opposition to Dismissal 1 p,

4/16/01 Phone conf w/ A. Ray RE: Pending issues incase & 0.50 JLK
Ray needs another copy of Claimant’s Combined
Response/Memorandum

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4/17/01)

4/20/01

4/23/01

4/24/01

5/8/01
5/8/01
5/8/01

6/4/01

6/4/01

6/7/01

6/7/01

6/8/01

6/9/01

6/10/01

7/16/01

Fax to A. Ray a copy of Claimant's prior Combined
Response/Memorandum to Dismiss |4 p.

Rec/Rev Ray’s Reply to Claimants Opp to Def.
Motion to Dismiss w/ exhibits 55 p.

Corr to J. Stephenson w/ Reply to Claimants
Opposition to Defendant’s Motion to Dismiss;
please contact me

Corr via Email and Fax to ADR Assoc. (Arbitrator
Singer) for time to submit additional Response to
Government’s motions/pleading; cc: A. Ray

Rec/Rev formal Revised Hearing # 8
Calendar new hearing date

Begin preparing rebuttal to Government’s Reply to
Claimants Opposition to Motion to Dismiss

Total Attorney hours 6/1/00 through 5/31/01 @
$350 per hour

Total Paralegal hours 6/1/00 through 5/31/01 @
$90 per hour

Finalize Rebuttal to Defendant’s Reply to
Claimants Opp to Defendant’s Motion to Dismiss
rev 5 p.

Rec/Rev Government’s statement for clarification
of the exhibits referenced in Government's Reply to
Claimants Opp to Def Mot to Dismiss

Rec/Rev the Arbitrator’s Decision on Defendant’s
Motion to Dismiss; granted

Phone conf w. A. Ray RE: Ramifications of
decision

Corr to J. Stephenson w/ copy of Arbitrators
Decision on Defendant’s Motion to Dismiss

Begin review and copy file, exhibits and research
for Petition for Monitor Review (copies/supplies at
Staples)

Further rev/research and drafting Petition for
Monitor Review

Rec/Rev fax from Stuby RE: bill for services

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0.40

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1.00

312.45

2.50

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3.50

0.40

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Paralegal
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$109,375

$0

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10/4/01

10/4/01
12/17/01

3/18/02

3/18/02

5/14/02

5/14/02

6/12/02

6/18/02

1/5/03

5/10/03

Complete and finalize Claimant’s Petition for
Monitor Review; send via certified mail to Claim’s
Facilitator 26 p.

Phone call to Facilitator to confirm receipt of
Motion for Review

Phone conf w/ J. Stephenson to advise Petition filed

Rec/Rev Defendant’s Response to Petition for
Monitor Review w/ 21 exhibits attach 92 p.

Rec/Rev corr from USDA genera] counsel in
response to J. Stephenson inquiry regarding claim
status 2 p.

Phone conf w/ J. Stephenson RE: letter from USDA
RE: claim status

Ree/Rev corr from M. Lewis RE: Recently
promulgated rules governing Petitions for Monitor
Review; must file disagreement of Monitor Review;
i.e. Designation of the Record; must file record
designated | p.

Begin review of arbitration file for Designation of
Record

Total Attorney hours for the period of 6/1/01
through 5/31/02 @ $360 per hour

Total Paralegal hours for the period of 6/1/01
through 5/31/02 @ $95 per hour

Complete/Rev/Finalize Designation of Record for
Monitor Review w/ pertitent pleadings 14 p.

Send w/ attachments via Certified Mail to Black
Farmer’s Settlement enclosing Designation of
Record 4 p,

Phone call from Stephenson RE: Inquiring about
status of appeal

Phone call from Stephenson RE: Inquiring about
status of appeal

Total Attorney hours for the period of 6/1/02
through 5/31/03 @ $370 per hour

Total Paralegal hours for the period of 6/1/02
through 5/31/03 @ $100 per hour

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0.40
2.50

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3.20

27,90

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7.30

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$2.67

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JLK

$2,701

$0
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12/1/03

4/7104

6/10/05

3/25/06

W207

3/18/08

3/18/08

3/20/08
3/21/08

3/21/08
3/23/08

3/24/08

3/24/08

3/24/08

4/23/08

Phone call from Stephenson RE: Inquiring about
status of appeal

Phone call from Stephenson RE: Inquiring about
status of appeal

Total Attorney hours for the period of 6/1/03
through 5/31/04 @ $380 per hour

Total Paralegal hours for the period of 6/1/03
through 5/31/04 @ $105 per hour

Phone call from Stephenson RE: Inquiring about
status of appeal

Phone call from Stephenson RE: Inquiring about
status of appeal

Total Attorney hours for the period of 6/1/05
through 5/31/06 @ $405 per hour

Total Paralegal hours for the period of 6/1/05
through 5/31/02 @ $115 per hour

Phone call from Stephenson RE: Inquiring about
status of appeal

Phone conf from A. Pagel, Monitor’s Staff RE:
Monitor’s rendered Decision

Rec/Rev/Respond email from Monitor RE:
inquiring means of email delivery of decision

Rec/Rev by FedEx Monitor Decision 27 p

Conf w/ J. Stephenson RE: Monitor Decision
Ordering Re-Examining of Decision .

Sent J. Stephenson copy of Decision

Email to Monitor RE: Requesting Retrieval of
Record on Review

Retrieve and inspect arbitration case files (2 large
storage boxes) from off-site storage in preparation
for arbitration

Office conf w/ Stephenson RE: next step after
Monitor’s Decision

Rec/Rev corr from Monitor RE: requested Records
from Monitor’s review

Phone conf w/ Stephenson RE: USDA/Credit
Settlement v. Arbitration of case

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$190

$0

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$243

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9/7/09

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W/IW/10

4/22/10
4/23/10
4/23/10
4/26/10
4/27/10

4/27/10

4/27/10

4/27/10

5/4/10

5/4/10

5/4/10

5/4/10

Corr to M. Lewis RE: Arbitration Hearing on the
remand decision

Total Attorney hours for the period of 6/1/07
through 5/31/08 @ $440 per hour

Total Paralegal hours for the period of 6/1/07
through 5/31/08 @ $125 per hour

Rec/Rev corr from Stephenson RE: Hearing date
and procedure

Corr to M. Lewis RE: Arbitration Hearing on the
remand decision

Total Attorney hours for the period of 6/1/08
through 5/31/09 @ $465 per hour

Total Paralegal hours for the period of 6/1/08
through 5/31/09 @ $130 per hour

Rec/update on availability of persons named on list
of witnesses from Stephenson

Rec/Rev Revised Hearing Notice #7

Calendar Order & Arrange travel plans

Send Notice of Hearing schedule to Stephenson
Review various testimony/witness info

Rev the Claimant’s Memo Addressing Legal and
Factual Issues (39p)

Rev/Revised Witness List (15p), in preparation for
hearing

Rev direct testimony of Richard Stuby (16p) in
preparation of hearing

Phone conf w/ Stephenson RE: Hearing travel;
contact witnesses and arrangement for
transportation to hearing

Retrieve/Rev list of witnesses to be cross examined
at hearing

Begin designating and putting together documents
for arbitration handbook w/ index/table of contents

Continue to select/arrange items to comprise
arbitration handbook

Started Table of Contents for Trial Notebook

Page 19 of 25

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10.60

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0.25
2.25
2.25

2.75

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3.90

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$4,664

$0

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$372

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5/5/10

5/10/10

5/10/10
S/I1/10

5/11/10

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5/21/10

5/21/10

5/24/10
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5/24/10

5/25/10

5/26/10
5/26/10

5/26/10

Complete and set Table of Contents for Trial
(Arbitration) Notebook (copy for DOJ &
Arbitrator) (17 p x2)

Rec/Rev report from P, Dean RE: Witnesses
availability

Report to Arbitrator RE: Status of Witness List

Phone conf w/ Stephenson RE: meeting to discuss
case preparation

Corr to Dean RE: witnesses to cross examine

Email to/from Arbitrator RE: availability copy of
Monitor record; Responded requesting a copy of
record

Off conf w/ Stephenson RE: discuss witness
identified to cross examine and contacting,
arranging their presence at hearing

Phone call from Dean RE: settlement prospects;
need to file for additional time to object to 2" set of
Plaintiff's exhibits

Begin reading direct testimony of Stephenson

Rec/Rev email from Dean w/ draft of Motion for
Extension to File Government’s Supplemental
Memorandum

Rec/Rev email from Heilman RE: Copy of
Monitor’s file

Emailed Deen RE: No objection to time extension
Rec/Inspect copy of file from Monitor

Discussion with staff RE: choices of methods for
binding documents for Arbitration handbook

Rec/Rev Motion for Extension of Time to Amend
Statement of Facts/Legal Grounds

Email from K. Palmer RE: Motion for Extension

Rec/Rev email from Office of the Monitor RE:
returning Monitor’s Record on appeal

Phone call from Arbitrator RE: Approval of Motion

Total Attorney hours for the period of 6/1/09
through 5/31/10 @ $465 per hour

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Total Paralegal hours for the period of 6/1/09 8.00 $1,040
through 5/31/10 @ $130 per hour

6/3/10 Phone conf w/ Dean DOJ; USDA offers to accept 0.15 JLK
Stephenson's position on issues raised in USDA’s
Motions

6/8/10 Phone call to Stephenson RE: Settlement 0.10 JLK
discussion; Left message

6/9/10 Partial review of Gov’t pleadings - witnesses tobe 3.30 JLK
cross examined

6/9/10 Phone call to Stephenson; Left message 0.10 JLK

6/10/10 Corr Pat O’Brien RE: Substituting as expert for 0.50 JLK
Dick Stuby

6/10/10 Rev Monitor’s Decision/Memo addressing 3.00 JLK

legal/factual issues; & Stuby testimony in
preparation for hearing

6/10/10 Phone call from Dean RE: Settlement proposal; 0.20 JLK
Stephenson’s Counter demand

6/11/10 Rec/Rev email from Dean w/ Government’s 2.70 JLK
Supplemental Memorandum

6/14/10 Corr to P. O’Brien w/ copy of Scheduling Order 0.40 JLK
and Direct Testimony of R. Stuby & Exhibit 417

6/15/10 Research case law; draft Plaintiffs’ Responsive 4,10 JLK
Memorandum; call to Dan to discuss furhter
Stephenson’s counteroffer

6/15/10 Phone call, from Dean RE: Settlement; discussed 0.20 JLK
Plaintiff's Reply to HED.’ supplemental response

6/15/10 Off conf w/ Stephenson RE: review of witness 1.40 JLK
testimony; arrange transportation to hearing

6/16/10 Off conf w/ Stephenson prep for arbitration; make 1.25 JLK
arrangements for travel

6/16/10 Letter to Pat O’Brien requesting his expert analysis 1.00 JLK

6/16/10 Rec/Rev email from O’Brien concerning my 0.45 JLK

. request
6/24/10 Rec/Rev email! from O’Brien w/ proposed report 1.70 JLK
6/25/10 Phone call to Dean; not in; left message RE: issue 0.20 JLK

of deceased witnesses

6/26/10 Emailed O’Brien RE: his 6/24/10 email 0.75 JLK

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6/27/10

6/27/10

6/28/10
6/29/10
6/29/10

6/29/10

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7/8/10

T/A3Z/10
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7/14/10

TAS/AO

7/16/10
TNTAO

Phone call to Dean; not in left message RE: issue of
deceased witnesses

Phone call to Arbitrator Palmer; not in left message
RE: discuss issues for arbitration

Left message for O’Brien RE: expert testimony
Left message for O’Brien RE: expert testimony

Ph conf. w/ O’Brien RE: Strengths of new
analytical approach

Phone call from Palmer RE: arbitration issues;
possibility of mediation

Attempted to return Palmer’s phone call; not in left
message

Phone call from Dean RE: Status of negotiation;
discuss witness issues & possible mediation

Phone conf w/ Stephenson RE: Deceased witnesses

Phone conf w/ K. Palmer RE: Mediation; reset
hearing/meeting

Phone conf w/ Palmer RE: further discuss
mediation/hearing dates (x2)

Visit to Staples to purchase Trial Notebook
Supplies

Copy/construct binders for use as Trial Notebooks

Continue copying/constructing binders for use as
Trial Notebooks

Rec/Rev email from Pat O’Brien RE: testimony
Continue to prepare Trial Notebook
Rec/Rev email from K. Palmer RE: Mediation

Visit Staples for additional Trial
Notebook/Supplies

Complete construction of binders for use as Trial
Notebooks (3015 p x3)

Drafted email to Arbitrator RE: Witness issue

Phone conf w/ Calvin King RE: appearance at
hearing to testify (x2)

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7/20/10

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T/27/10

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T2710

7/27/10

7/28/10

T/29/10

7/30/10
7/31/10

8/1/10

8/2/10

Phone conf w/ Stephenson RE: hearing
postponement

Rec/Rev email from Mediation Firm

Phone cal] from K. Palmer RE: Settling unavailable
witness issue

Rec/Rev corr from Levi; complete and return w/
attachments 12 p

Phone call to K. Palmer (x2), unavailable left
messages

Phone conf w/ K Palmer RE: Formal request to
resolve unavailable witness issue

Fax to E. Condon w/ signed Mediation Agreement,
Confidentiality Agreement & Fee Agreement
attached 10 p

Corr via emai] w/ Dean/Stacy, Stephenson RE:
Mediation schedule

Begin drafting required statement of case,
information and documents requested by Mediator
in preparation for 8/2/10 meeting

Phone conf w/ Stephenson RE: Mediation date;
travel & lodging

Make travel arrangements for Kearney &
Stephenson; best schedule leaves 7/31/10 returns
8/3/10

Rec/Rev email from D, Frantz RE: Elements of
SSWE w/ 2 Monitor’s Decisions attached as
examples 42p

Continue research/final draft material for Mediator;
& review for that purpose

Phone conf w/ Levie RE: Mediation

Travel to DC (Home to LR airport; fly to BMI; pick
up and transport to DC 8hrs) in DC for rest of night

In Washington DC all day: (Conf w/ Stephenson
and O’Brien to review documents in preparation for
Mediation 9.5hrs) (no hotel costs)

In Washington DC all day (Mediation, including
preparation time and travel time to and from 13hrs)
(no hotel costs)

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8.00 /
24.00

9.50 /
24.00

13.00 /
24.00

$762.50

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Paralegal

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8/3/10

8/2/10
8/9/10
8/10/10
8/10/10

8/12/10

8/13/10

8/25/10

8/25/10

O/L/1O

12/3/10

Vi/10/11

11/26/11
11/30/11
L2/1/11

12/10/11
12/12/11
12/13/11

In Washington DC all day waiting for flight (drive
to airport/return flight to St. Louis to LR & airport
wait time 18.Shrs)

Meal receipts for Kearney/Stephenson
Time sheet review and bill preparation
Time sheet review and bill preparation

Rec/Rev email from P. Dean RE: Stephenson
payment information

Rec/Rev corr from P. O’Brien RE: bill for
economic consulting on Stephenson Claim

Cor to P. Dean RE: Settlement Agreement &
Agreement to Release Claims of Stephenson

Rec/Rev email from P. Dean RE: Stephenson
payment

Corr to Stephenson RE: Payment awaiting issuance
by Treasury

Rec/Rev email from P. Dean RE: Information sent
to Treasury

Rec/Rev corr from Mediation Firm RE: Closure of
Stephenson file & review form

Total Attorney hours for the period of 6/1/10
through 5/31/11 @ $475 per hour

Total Paralegal hours for the period of 6/1/10
through 5/31/11 @ $135 per hour

Rec/Rev corr from P. O’Brien inquiring about
payment for services

Time sheet review and bill preparation
Time sheet review and bill preparation
Time sheet review and bill preparation
Time sheet review and bill preparation
Time sheet review and bill preparation
Time sheet review and bill preparation

Total Attorney hours for the period of 6/1/11
through 5/31/12 @ $495 per hour

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18.50/
24.00

1.50
7.00
0.15

0.30

0.30

0.10

0.20

0.20

0.20

137.60

34.00

4.00
7.00
6.00
3.00
6.00
5.00
0.20

$121.25

$17,800

JL

Paralegal
Paralegal

JLK

ILK

JLKE

JLK

ILK

JLK

JLK

$65,360

$4,590

JLK

Paralegal
Paralegal
Paralegal
Paralegal
Paralegal
Paralegal

399
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Total Paralegal hours for the period of 6/1/11 31.00
through 5/31/12 @ $140 per hour

Total Attorney Working Hours
Total Attorney Downtime Hours:
Total Paralegal Working Hours:

Total Pages/Copies @ $0.25 each:

Total Attorney Fees:

Total Paralegal Fees:

Total Expenditures (itemized separately):

Total Pages/Copies expenditure:

GRAND TOTAL:
Pe i235
Wo ,
\ U\ y ee A Z

50

$4,340

606.45
76.00
80.85

9,501

$260,311.00
$10,312.00
$21,817.92
$2,375.25

$294,816.20
